                            Case 2:20-cr-00153-JNP Document 8 Filed 08/12/19 Page 1 of 2

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                - i_c,_      lCT CP!l\\T



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                                              . ,.·u·NITED STATES DISTRICT COURT
                                                                       for the



                      United States of America
                                                                  District of Utah
                                                                                                                              61 ORIGINAL
                                      v.                                 )
                           MURAT SULJOVIC                                )           Case No.        2 i / °} W1j                 EJ{o (p,.. D/3f~?;
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                                                                                                                                                     ::::.
                                   Defendant                                                                                                         ffi                             ;
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                                                                                                                                                     •-"
                                                             ARREST WARRANT                                                                          N
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                                                                                                                                                    -0
To:       Any authorized law enforcement officer                                                                                                    i_,,,,                      .J
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                                                                                                                                                    \.Al
          YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary ~lelay
(name ofperson to be arrested) MURAT SULJOVIC
                                       -------~--------------------~-----

who is accused of an offense or violation based on the following document filed with the court:

0 Indictment                   0    Superseding Indictment       0 Information             0 Superseding Information                          ref Complaint
O Probation Violation Petition                    0 Supervised Release Violation Petition                  0 Violation Notice                 0 Order of the Court

This offense is briefly described as follows:
 False Statement-18 U.S.C. 1001
 Attempt to Provide Material Support to Designated Terrorist Organization -18 U.S.C. 23398




Date:   ~r}' (r i~
City and state:           _2 (,,(;,,          J~                             _ _,,c:c..:::.=~:;,:..;.~=-'-..::...:...::..:..::...:=--=-.:.::·a:..:.te"-'~ Magisti·ate ,J.~.:!~-­
                                                                                                               Printed name and title

                                                                       Return

          This    war~nt was received on (date)           '6-/;)-/ q          , and the person was arrested on (date)                        ~ ~ l'd-14
at (oity and state)       :::>aJJ (_¢..r(!,    cdtr   l2f/.11t

Date:    l{) .- /'Z- f i
                                                                                                           Arresting officer's signature

                                                                             Jl_V~ vclk~                                    l)ll)~
                                                                                                \              Printed name and title
                        Case 2:20-cr-00153-JNP Document 8 Filed 08/12/19 Page 2 of 2



AO 442 (Rev, 11/11) Atwst Warrant (l'ag<:> 2)



                       This second page contains personal identifiers provided for law-enforcement use only
                       and therefore should not be filed in court with the executed warrant unless under seal.

                                                        (Not.for Public Disclosure)

Name of defendant/offender:
Known aliases:                                                             ----··------          ------
Last known residence:
Prior addresses to which defendant/offender may still have ties:


Last known employment:
Last lmown telephone numbers:
Place ofbfrth:
Date of birth:
Social Security number:
Height:                                                                   Weight:
Sex:                                                                      Race:
Hair:                                                                     Eyes:        ----------··-------·--------

Scars, tattoos, other distinguishing marks:



History of violence, weapons, drug use:


Known family, friends, and other associates (name, relation, adciress, phone number):


 FBI number:
 Complete description of auto:


 Investigative agency and address:


 Name and telephone numbers (office and cell) of pretrial services 01· probation officer (if applicable):



 Date of last contact with pretrial services or probation officer (if ctppllcctbfo):
